Case 2:05-cr-20232-.]PI\/| Dooument 5 Filed 06/30/05 Page 1 of 2 Page|D 3

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UNITED STATES OF AMERICA Wr‘-D ’L`,\§~` li .-i'"-.il)` lS
-vs- Case No. 2:05cr20232-D
JANET GRIFFIN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, JULY 1, 2005 at 3:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Date: June 29, 2005 /s/ S. Allan Alexander

 

S. ALLAN ALEXANDER
UNITED STATES MAGISTRATE JUDGE
NORTI-]ERN DISTRICT OF MISSISSIPPI

 

]If not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order 01 T¢rnporary Datantlon

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 5 in
case 2:05-CR-20232 Was distributed by faX, mail, or direct printing on
July l, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

